                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Aaryana Malcolm, et al.,

                       Petitioners,                       Case No. 20-cv-2503 (MJD/LIB)

        v.
                                                     REPORT AND RECOMMENDATION

M. Starr, et al.,


                       Respondents.


        This matter comes before the undersigned United States Magistrate Judge upon

Petitioners Aaryana Malcolm, Lavell Williams, Shelle Brooks, Kristina Bohnenkamp, Carrie

Casarez, Noelle Dubray, Pauline Hemicker, Kimberly Inabnit, Cassandra Kasowski, Kristen

Martin, Joy Ramos, Kelly Sorenson Rafai, Katherine Reed, and Chasstady Walker’s (hereinafter

collectively “Petitioners”) Petition for writ of Habeas Corpus, [Docket No. 1], and Petitioners’

Motion for Temporary Restraining Order. [Docket No. 6]. The present case has been referred to

the undersigned pursuant to a general referral in accordance with the provisions of 28 U.S.C. §

636 and Local Rule 72.1.

        For the reasons set forth herein, the undersigned recommends that the Petition for writ of

habeas corpus, [Docket No. 1], be DENIED, and the undersigned further recommends that

Petitioners’ Motion to Temporary Restraining Order, [Docket No. 6], be DENIED.

I.      Procedural Background

        On December 9, 2020, Petitioners initiated the present action by filing their Petition for

writ of habeas corpus. [Docket No. 1]. Petitioners are each incarcerated at the Federal Correction

Institution in Waseca, Minnesota, and as discussed more fully below, they allege that prison
officials have responded to the COVID-19 pandemic in a constitutionally impermissible manner.

Petitioners allege that they are each “medically vulnerable” to COVID-19. (Pet., [Docket No. 1],

at ¶¶ 4–54, 160–163). In addition to their own interest, Petitioners also seek to represent a class

of inmates at FCI-Waseca.

        Petitioners filed their Motion for Temporary Restraining Order on December 11, 2020.

(Pets.’ Mot. [Docket No. 6]). In their Motion, Petitioners requested expedited handling of their

Motion. (Id.).

        On December 11, 2020, the undersigned issued an Order establishing a schedule for

briefing to be completed on Petitioners’ Motion for Temporary Restraining Order, and the

undersigned scheduled oral argument on Petitioners’ Motion to be heard on January 6, 2021.

(Order [Docket No. 278]). This briefing has since been completed, and the Court has heard oral

argument on Petitioners’ Motion.

        On December 11, 2020, the undersigned also issued an Order establishing a briefing

schedule on Petitioners’ petition for a writ of habeas corpus. (Order [Docket No. 28]). Pursuant

to that Order, Respondents have filed their response to the present Petition. (Response [Docket

No. 83]). 1

II.     The COVID-19 Pandemic

        COVID-19 is an infectious illness caused by a novel coronavirus which has become a

global pandemic. (Franco-Paredes Decl., [Docket No. 14], at 2–3). According to information

filed by Petitioners, as of mid-October, there were 8.2 million reported case and over 220,000

deaths in the United States of America. (Id.).



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 As of the date of this Report and Recommendation, there yet remains time for Petitioner’s to file their reply brief;
however, given the jurisdictional nature of the present recommendation, the Court finds waiting on that reply to be
unnecessary.

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           The COVID-19 virus is thought to pass from one person to another through the expulsion

of respiratory droplets (e.g., coughing or sneezing), but it is thought to also survive on various

surfaces for varying periods of time. A person infected with COVID-19 may exhibit symptoms

ranging from zero symptoms (asymptomatic COVID-19) to respiratory failure, kidney failure,

and death. Thus, a person without symptoms may still spread the virus.

           The Centers for Disease Control and Prevention (hereinafter the “CDC”) has

recommended that everyone wash their hands often; avoid close person to person contact

through social distancing (the practice of maintaining a distance of six feet between yourself and

others); isolation and quarantine; cover their mouth and nose with a cloth cover when around

others; routinely clean and disinfect frequently touched surfaces; and avoid poorly ventilated

areas. See, https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html.

The CDC emphasizes that “[k]eeping distance from others is especially important for people

who are at higher risk of getting very sick.” Id.

           According to the CDC, individuals with certain underlying medical conditions are at a

higher risk for severe illness from COVID-19. See, People Who Are at Higher Risk for Severe

Illness,       http://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-

risk.html. The CDC identifies these conditions as: cancer; chronic kidney disease; chronic

obstructive pulmonary disease; down syndrome; heart conditions, such as heart failure, coronary

artery disease, or cardiomyopathies; immunocompromised state from solid organ transplant;

obesity and sever obesity; pregnancy; sickle cell disease; smoking; and type 2 diabetes mellitus.

Id.




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III.    The Nature of Petitioners’ Action

        Petitioners’ initial filings are ambiguous as to the exact nature of the action they intended

to initiate and the relief they were seeking. The document with which Petitioners initiated the

present action is titled, “Class Action Complaint for Declaratory Relief and Petition for Writs of

Habeas Corpus.” [Docket No. 1]. Petitioners purport to assert that the Court has subject matter

jurisdiction pursuant to both the doctrine of federal question jurisdiction, 28 U.S.C. § 1331, and

habeas jurisdiction, pursuant to 28 U.S.C. § 2241. (Pet., [Docket No. 1], at 4). Petitioners also

purport to seek to represent one class and three subclasses of individuals. (See, Id.). 2 Further

complicating the matter, Petitioners appeared to have initially been seeking both habeas relief, as

well as, classic civil suit relief. (See, Id. at 72–74) (seeking class certification of the proposed

Class and Subclass; “issuance of a writ of habeas corpus requiring Respondents to release from

custody and/or to home confinement the Petitioners;” declaratory relief finding Respondents’

policies and practices regarding COVID-19 to be unconstitutional and discriminatory; an Order

“declaring Respondents’ review of Petitioners and Class Members for home confinement under

the CARES Act was an abuse of discretion and/or arbitrary and capricious”; and the

“appointment of a Special Master pursuant to Fed. R. Civ. P. 63 or an expert under Fed. R. Evid.

706 to make recommendations to the Court regarding the number of incarcerated people that

FCI-Waseca can house consistent with CDC Guidance on strategies to mitigate the spread of

COVID-19”).


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  Specifically, Petitioners seek to represent a class of all persons imprisoned at FCI Waseca who are “medically
vulnerable” as defined by Petitioners. (Id. at ¶ 161). Petitioners Bohnenkamp, Casarez, DuBray, Hemicker, Inabnit,
Kasowski, Malcolm, Ramos, Sorenson Rafai, Walker, and Williams seek to represent a subclass consisting of all
current and future inmates at FCI-Waseca who are medically vulnerable, who have previously tested positive for
COVID-19 . . . (‘Subclass I’).” (Id. at ¶ 162). “Petitioners Brooks, Martin, and Reed seek to represent a subclass
consisting of all current and future inmates at FCI-Waseca who are medically vulnerable, who have not yet
contracted COVID-19 (‘Subclass II’).” (Id. at ¶ 163). “Petitioners Brooks, Malcolm, Walker, and Williams also seek
to represent a subclass consisting of all current and future inmates at FCI-Waseca who are medically vulnerable
because of a disability as defined in the rehabilitation Act (‘Subclass III’).” (Id. at ¶ 164).

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       For these reasons, Petitioners initially appeared to seek to raise a civil claim and a habeas

claim in the same action. (See, Pet. [Docket No. 1]). Litigants cannot, however, raise civil

“claims (such as conditions-of-confinement claims) and habeas [release] claims in the same

action.” Foy v. Bilderbergers, No. 16-cv-454 (JNE/LIB), 2016 WL 11486912, at *3 (D. Minn.

Mar. 17, 2016), (citing Spencer v. Haynes, 774 F.3d 467, 470–71 (8th Cir. 2014)), report and

recommendation adopted, 2016 WL 2621952 (D. Minn. May 6, 2016); see, Smith v. Fikes, No.

20-cv-1294 (JRT/TNL), 2020 WL 6947848, at *2 (D. Minn. Oct. 12, 2020), report and

recommendation adopted, 2020 WL 6947433 (D. Minn. Nov. 25, 2020).

       Petitioners have now clarified, however, that they are raising only a habeas petition

seeking habeas release. (See, Pets.’ Reply, [Docket No. 73], at 2–5) (arguing that neither the

Prisoner Litigation Reform Act nor “exhaustion requirements . . . preclude review” because

“[t]his Court has jurisdiction under 28 U.S.C. § 2241” and further arguing that their “claims are

proper under § 2241”). At the January 6, 2021, Motions Hearing, Petitioners’ counsel affirmed to

the Court that Petitioners are raising a habeas petition seeking habeas release. (January 6, 2021,

Motions Hearing, Digital Recording at 11:12–11:16 a.m.). It is through this habeas lens that the

Court must and will now review Petitioner’s Motion for Temporary Restraining Order, as well

as, their Habeas Corpus Petition.

       “[T]he heart of habeas corpus” relief is “immediate release or a speedier release from”

confinement. Preiser v. Rodriguez, 411 U.S. 475, 498 (1973). Because Petitioners are here on the

basis of a habeas petition, some of the relief they initially sought is simply not available as it

would have possibly been in a civil complaint. For example, in their Motion for Temporary

Restraining Order, Petitioners seek, among other things, an Order appointing “an independent

monitor with medical expertise to ensure compliance with the measure enumerated in



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Petitioner’s [sic] Proposed Order . . . and directing Respondents to provide the monitor with

unfettered access to medical units, confidential communications with detained individuals in and

out of quarantine, and surveillance video of public areas of the facilities.” (Pets.’ Mot. [Docket

No. 6]). Similarly, Petitioners’ habeas petition seeks, among other things, the “appointment of a

Special Master . . . or an expert . . . to make recommendations to the Court regarding the number

of incarcerated people that FCI-Waseca can house consistent with CDC Guidance on strategies

to mitigate the spread of COVID-19;” an Order declaring Respondents’ COVID-19 related

policies and practice at large to be unconstitutional and discriminatory; and an Order “requiring

Respondent to comply with the Constitution for any Class Members who remain at FCI-Waseca,

and with the Rehabilitation Act for any Subclass Members who remain . . . .” (Pet., [Docket No.

1], at 72–73). This relief is simply not available in a habeas petition. Because the Petitioners

have now clarified, and the record supports, that Petitioners are pursuing only a habeas petition

seeking habeas relief, the Court need not further consider the civil-complaint type of relief

initially sought.

        This leaves for the Court’s consideration Petitioners’ habeas petition seeking relief in

various forms of “release.” It remains unclear whether Petitioners intend “release” to mean

actual, total release outright from confinement or only being transferred to home confinement.

Regardless of the exact nature of release sought, however, the Court must now determine if it

retains the requisite subject matter jurisdiction to adjudicate Petitioners’ habeas claims. See, Fed.

R. Civ. P. 12(h)(3) (“If the court determines at any time that it lacks subject-matter jurisdiction,

the court must dismiss the action.”).




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IV.    Subject Matter Jurisdiction

       Having resolved that Petitioners are asserting a habeas claim, there remain two possible

forms of relief sought by Petitioners as clarified at the hearing. On the record now before the

Court including the representations of Petitioners’ counsel made at oral argument, Petitioners

seek either (1) immediate complete release from their terms of incarceration free and clear of all

restrictions by the Bureau of Prisons, or (2) immediate transfer to home confinement. Under

either circumstance, the Court lacks the requisite subject matter jurisdiction to adjudicate the

Petitioners’ claims.

       A. Complete Release from Incarceration

       The first possible relief being sought is that Petitioners seek an immediate complete and

total release from incarceration by the Bureau of Prisons free and clear of all terms of release.

The only possible way to achieve such a result would be a reduction in their individually

imposed sentences. Petitioners could seek to do so through a mechanism referred to as

“compassionate release.”

       Compassionate release is an exception to the general rule that a district court “may not

modify a term of imprisonment once it has been imposed . . . .” 18 U.S.C. § 3582(c). The

mechanism of compassionate release allows the sentencing court to reduce a prison term “after

considering the factors set forth in section 3553(a) to the extent that they are applicable, if it

finds that . . . extraordinary and compelling reasons warrant such a reduction.” 18 U.S.C. §

3582(c)(1)(A)(i). A motion for compassionate release under § 3582(c), however, must be

addressed to the sentencing court. See, e.g., 18 U.S.C. § 3582(c)(1)(A)(i); Lewis v. Warden,

FMC-Rochester, No. 6-cv-329 (ADM/RLE), 2006 WL 1134760, at *1 (D. Minn. Apr. 27, 2006);

Smoke v. United States, No. 9-cv-2050 (JRT/AJB), 2009 WL 5030770, at *2 (D. Minn. Dec. 14,



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2009); United States v. Mendoza, No. 10-cr-3131 (DWF/FLN), 2019 WL 6324870, at *4 (D.

Minn. Nov. 26, 2019).

       In their petition, the Petitioners fail to allege or even identify the District Court in which

they were each separately sentenced. And in any event, however, no Petitioner alleges that she

was sentenced by the Honorable Michael J. Davis of the District of Minnesota. (See, Pet.

[Docket No. 1]). Thus, to the extent Petitioners seek compassionate release, this Court lacks the

requisite subject matter jurisdiction to adjudicate such a claim. See, e.g., Lewis v. Warden, FMC-

Rochester, No. 6-cv-329 (ADM/RLE), 2006 WL 1134760, at *1 (D. Minn. Apr. 27, 2006);

Smoke v. United States, No. 9-cv-2050 (JRT/AJB), 2009 WL 5030770, at *2 (D. Minn. Dec. 14,

2009); United States v. Mendoza, No. 10-cr-3131 (DWF/FLN), 2019 WL 6324870, at *4 (D.

Minn. Nov. 26, 2019); 18 U.S.C. § 3582(c)(1)(A)(i). If any Petitioner seeks compassionate

release, then she must individually seek said release from the specific Court in which she was

sentenced.

       B. Habeas Relief Through § 2241

       Petitioners could also seek “release” through 28 U.S.C. § 2241. “Writs of habeas corpus

may be granted by the Supreme Court, . . . the district courts and any circuit judge within their

respective jurisdictions.” 28 U.S.C. § 2241(a). Under § 2241, a writ of habeas corpus shall not

extend to any individual unless said individual “is in custody in violation of the Constitutional or

laws or treaties of the United States.” Id.

       The United States Supreme Court has “left open the question whether [inmates] might be

able to challenge their confinement conditions via a petition for writ of habeas corpus.” Ziglar v.

Abbasi, 137 S.Ct. 1843, 1862–63 (2017). The Eighth Circuit Court of Appeals, however, has

specifically concluded that habeas petitions are not the proper vehicle to remedy constitutional



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claims relating to the conditions of confinement. See, Spencer v. Haynes, 774 F.3d 467 (8th Cir.

2014) (citing Kruger v. Ericksen, 77 F.3d 1071 (8th Cir. 1996)).

       In the Eighth Circuit, a habeas petitioner under § 2241 can only challenge the fact or

duration of confinement. See, e.g., Spencer v. Haynes, 774 F.3d 467 (8th Cir. 2014); Heck v.

Humphrey, 512 U.S. 477, 481 (1994); Kruger v. Erickson, 77 F.3d 1071, 1073 (8th Cir. 1996).

Challenges to the conditions of confinement cannot be addressed in habeas proceedings. Mendez

v. United States, No. 12-cv-28 (ADM/FLN), 2012 WL 1110138, at *2–3 (D. Minn. Jan. 24,

2012), report and recommendation adopted, 2012 WL 1110125 (D. Minn. Apr. 3, 2012). “If the

prisoner is not challenging the validity of [her] conviction or the length of [her] detention, such

as loss of good time, then a writ of habeas corpus is not the proper remedy.” Kruger, 77 F.3d at

1073. “Where petitioner seeks a writ of habeas corpus and fails to attack the validity of [her]

sentence or the length of” her “custody, the district court lacks the power or subject matter

jurisdiction to issue a writ.” Id. In short, challenges to the conditions of confinement, as opposed

to the length or legality of detention, are not cognizable claims in habeas petitions in the Eighth

Circuit. Spencer v. Haynes, 774 F.3d 467, 469–70 (8th Cir. 2014).

       In the present case, Petitioners are raising a “conditions of confinement” claim under the

guise of a habeas petition. Although Petitioners purport to seek “release,” they argue that

“release” is warrant based not on the basis of some invalidity in the fact or duration of their

confinement, but rather, on the basis of the conditions at FCI Waseca. Petitioners specifically

assert in their Petition that they ‘bring this action against” Respondents “on behalf of themselves

and a class of individuals incarcerated at FCI-Waseca who are at elevated risk of complications

and death from COVID-19, which feeds on precisely the unsafe, congregate conditions in which

they are being held.” (Pet., [Docket No. 1], at 3) (emphasis added). Petitioners entire argument in



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the present action is that Respondents have failed to properly respond to the COVID-19

pandemic which has created unsafe conditions at FCI Waseca. This is plainly a conditions of

confinement claims.

       The current Petition does not present any challenge to the validity of Petitioners’

convictions or the length of their individually imposed terms of incarceration. Rather, Petitioners

challenge the nature of their living conditions at FCI Waseca in light of the COVID-19

pandemic. (See, Pet. [Docket No. 1]). A writ of habeas corpus is not the proper remedy for such

a claim. See, e.g., Preiser v. Rodriguez, 411 U.S. 475, 489–90, 493 (1973); Spencer v. Haynes,

774 F.3d 467, 469–70 (8th Cir. 2014).

       In their Motion for Temporary Restraining Order reply memorandum, Petitioners assert

that this Court has “habeas jurisdiction” because unlike the petitioners in Spencer and Kruger,

“Petitioners [here] directly challenge their confinement and seek release.” (Pets.’ Mem., [Docket

No. 73], at 3). The Court finds this argument overly superficial and unpersuasive for several

reasons.

       First, Petitioners do not expressly seek release from their terms of incarceration as the

only relief which will cure the alleged constitutional infirmities. In fact, in summarizing their

Petition, the Petitioners specifically note that “because of their unlawful and unconstitutional

confinement” they seek “the immediate transfer of Petitioner [sic] and class members to home

confinement . . . .” (Pet., [Docket No. 1], at 3) (emphasis added).

       Home confinement is considered a place of confinement or imprisonment. See, e.g.,

Elwood v. Jeter, 386 F.3d 842, 846 (8th Cir. 2004). A prisoner is transferred to home

confinement not released to home confinement because home confinement is a place of

incarceration. See, gen., Id. Being transferred to home confinement is not a “release” for



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incarceration. By Petitioners’ own admissions, each of the constitutional violations alleged in the

Petition, as they relate to Petitioners, would ostensibly be cured if Petitioners were immediately

transferred to home confinement. Unlike a circumstance where a hypothetical petitioner might

argue that release from confinement is the only possible cure for a constitutional infirmity, the

Petitioners here concede that a transfer to a different form of confinement, home confinement,

would cure the perceived constitutional infirmities alleged in the present case. To the extent

Petitioners seek for this Court to review the Bureau of Prisons’ decision regarding transfer to

home confinement, that decision too is not reviewable by this Court. The Court lacks the subject

matter jurisdiction to review the Bureau of Prisons’ discretionary decision regarding transfer to

home confinement. See, e.g., Simon v. L. LaRiva, No. 16-cv-146 (ADM/TNL), 2016 WL

1626819, at *4–7 (D. Minn. Mar. 10, 2016), (collecting cases) report and recommendation

adopted, 2016 WL 1610603 (D. Minn. Apr. 21, 2016); Smith v. Warden of Duluth Prison Camp,

No. 18-cv-2555 (WMW/LIB), 2019 WL 3325837, at *4–6 (D. Minn. Apr. 23, 2019), report and

recommendation adopted as modified, 2019 WL 3323063 (D. Minn. July 24, 2019).

       Second, Petitioners do not in fact directly challenge the fact of their confinement. Instead,

Petitioners allege that the conditions of their confinement have rendered unconstitutional their

continued incarceration. Put another way, if the conditions of which Petitioners now complain

were eliminated (i.e., COVID-19 and the perceived lack of adequate safety precautions), then

there would be no remaining challenge to Petitioners’ continued incarceration.

       For these reasons, the Court concludes that it lacks the requisite subject matter

jurisdiction to adjudicate the claims raised in the present habeas petition. Therefore, the

undersigned recommends that the present Petition, [Docket No. 1], be DENIED.




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       C. Constitutional Claims

       Despite the evident lack of subject matter jurisdiction, Petitioners ask the District of

Minnesota to intervene to order their immediate release to either home confinement or a

complete release from their individual terms of incarceration. In an abundance of caution and for

purpose of completeness, the Court will address Petitioners’ constitutional claims.

       As observed above, Petitioners allege that FCI Waseca prison officials have responded to

the COVID-19 pandemic in a constitutionally impermissible manner. Specifically, Petitioners

allege that the manner in which FCI Waseca has responded to the COVID-19 pandemic violates

the Eighth Amendment to the United States Constitution and the Rehabilitation Act. (Pet.,

[Docket No. 1], at 3).

       The Eighth Amendment to the United States Constitution prohibits the Government from

inflicting “cruel and unusual punishments” on persons convicted of crimes. See, Rhodes v.

Chapman, 425 U.S. 337, 344–46 (1981). Any “deliberate indifference to serious medical needs

of prisoners” constitutes cruel and unusual punishment, and therefore, it violates the Eighth

Amendment “because it constitutes the unnecessary and wanton infliction of pain contrary to

contemporary standards of decency.” Helling v. McKinney, 509 U.S. 25, 32 (1993) (internal

quotation and citation omitted); see, Gregoire v. Class, 236 F.3d 413, 417 (8th Cir. 2000) (“It is

well established that the Eighth Amendment prohibition on cruel and unusual punishment

extends to protect prisoners from deliberate indifference from serious medical needs”) (citing

Estelle v. Gamble, 429 U.S. 97, 104 (1976)).

       To demonstrate the “deliberate indifference” necessary for pleading an Eighth

Amendment violation, a prisoner must show (1) that she had an objectively severe medical need,

and (2) that prison officials knew of, but deliberately disregarded, that need. Jolly v. Knudsen,



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205 F.3d 1094, 1096 (8th Cir. 2000). To constitute an objectively serious medical need or a

deprivation of that need, the need or the deprivation either must be supported by medical

evidence or must be so obvious that a layperson would recognize the need for a doctor’s

attention. Aswegan v. Henry, 49 F.3d 461, 464 (8th Cir.1995). “Specifically, the prisoner must

show both (1) that a prison official had actual knowledge that the prisoner’s medical condition

created a substantial risk of serious harm to the prisoner’s health, and (2) that the prison official

failed to act reasonably to abate that risk.” Baez v. Rosemack, No. 9-cv-2121 (RHK/LIB), 2011

WL 4062586, at *4 (D. Minn. Aug. 9, 2011) (citing Coleman v. Rahija, 114 F.3d 778, 785 (8th

Cir. 1997)).

          “Deliberate indifference is akin to criminal recklessness.” Drake v. Koss, 445 F.3d 1038,

1042 (8th Cir. 2006). Accordingly, a prisoner claiming deliberate indifference must plead “more

than negligence, more even than gross negligence . . . .” Estate of Rosenberg v. Crandell, 56 F.3d

35, 37 (8th Cir. 1995). Allegations that suggest even “medical malpractice” are insufficient to

support a claim for cruel and unusual punishment, and “mere disagreement with treatment

decisions does not rise to the level of a constitutional violation.” Popoalii v. Corr. Med. Servs.,

512 F.3d 488, 499 (8th Cir. 2008).

          In the present case, Petitioners, largely pointing to circumstances occurring in August

2020 and September 2020, assert that Respondents’ knowledge of and deliberately disregarded

of their objective medical need is demonstrated by Respondents’ “woefully inadequate” plan of

response to the COVID-19 pandemic; Respondents’ failure to recalibrate said plans; and

Respondents’ failure to follow even their own plans. (Pets.’ Mem., [Docket No. 29], at 30–34). 3

As presented by Petitioners, the Respondents started with a poor plan, never adjusted that plan,



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    These pages numbers reflect the page numbers assigned by CM/ECF.

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and never even attempted to follow their own plan. (See, Id.). 4 These assertions are unsupported

by the record now before the Court.

        Despite Petitioners’ allegations, the response to the COVID-19 pandemic at FCI Waseca,

as with the response in the community overall, has clearly evolved over time. For example, while

incoming inmates were initially only “screened for COVID-19 symptoms and exposure risk

factors,” by at least June 2020, the incoming inmate screening process changed “to include

mandatory testing and quarantine or isolation depending on whether the intakes were

symptomatic.” (Anne Cummins Decl., [Docket No. 68], at ¶¶ 47–49). Other portions of FCI

Waseca’s response to the pandemic have also evolved over time as knowledge about the virus

too has evolved.

        In March 2020, the number of groups simultaneously permitted into mealtimes was

limited, and inmates were encouraged to maintain social distances. (Id. at ¶ 11). FCI Waseca

then began administering “grab and go” meals” for breakfast and lunch with only one group

attending dinner at a time. (Id.). Later “Food Service was controlled by housing unit, in groups of

10 inmates but no more than 30 inmates out of the housing unit at a time.” (Id. at ¶ 19). After

FCI Waseca had its first confirmed case of COVID-19 in July 2020, restrictions were increased,

and a surge in cases led to those restrictions remaining in place (Id. at ¶ 21–33); however, after

that surge in COVID-19 cases abated by October 2020, “units were allowed to go to the dining

hall for “Grab and Go” meals . . . by housing unit.” (Id. at ¶ 34).

        Similarly, FCI Waseca’s implementation of housing unit assignments has also evolved

over the course of the COVID-19 pandemic. “On April 1, 2020, FCI Waseca implemented the

Bureau’s ‘Stay in Shelter’ order” which restricted inmate movement outside their housing unit

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  Petitioners also make certain assertions regarding the actions of the Bureau of Prisons at large as opposed to
circumstances that occurred at FCI Waseca. (See, e.g., Pet. Mem., [Docket No. 29], at 17). To the extent these
circumstances did not directly occur at FCI Waseca, they are irrelevant to the present analysis.

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while “inmates were encouraged to remain in their room or bunk areas . . . .” (Id. at ¶ 12). On

April 20, 2020, Unit Team staff “reorganized some rooms to maximize social distancing,” and

they “advised inmates to sleep ‘head to toe’ in their bunks to increase the distances between their

heads.” (Id. at ¶ 17). “On August 25, 2020, FCI Waseca began implementing a national directive

to house inmate who worked in UNICOR in one unit as much as reasonably possible.” (Id. at ¶

26). FCI Waseca also began housing inmates by individual work detail to limit possible

exposure. (Id. at ¶ 27). Each of these examples patently demonstrates a COVID-19 prevention

response which progressed over time.

        Petitioners also allege that Respondents “knowingly contaminated infection-free living

units.” (Pet. Mem., [Docket No. 29], at 12–14). In support of this assertion, Petitioners point to

Petitioner Inabnit’s declaration in which she attests that when she arrived at FCI Waseca on

August 18, 2020, she was encouraged to answer “no” regarding whether or not she had been

exposed to COVID-19. (See, Id.). However, as noted above, since at least June 2020, the

incoming inmate screening process changed “to include mandatory testing and quarantine or

isolation depending on whether the intakes were symptomatic.” (Anne Cummins Decl., [Docket

No. 68], at ¶¶ 47–49). Moreover, although Petitioners’ allege that Respondents “knowingly

contaminated infection-free living units” by placing Petitioner Inabnit and other incoming

inmates into a unit with existing FCI Waseca inmates who had not yet tested positive for

COVID-19, Petitioner Inabnit acknowledges that it was not until her second COVID-19 test

three days after her arrival that she tested positive for COVID-19. (Inabnit Decl., [Docket No.

12], at ¶ 16).

        Similarly, the record does not support Petitioners’ assertion that “Respondents have failed

to provide adequate PPE and cleaning supplies” or that Respondents wholly failed to enforce



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masking wearing requirements. (Pets.’ Mem., [Docket No. 29], at 20–22). In support of this

assertion, Petitioners point to their own declarations which describe isolated incidents where they

observed a lack of enforcement of mask wearing, as well as, isolated incidents which they

perceived as having insufficient cleaning supplies. The record does not support the contention,

however, that Respondents failed to provide adequate PPE and cleaning supplies overall.

       Importantly, the observations in Petitioners’ declarations fail to provide any temporal

context for when the individually described circumstances were observed. Thus, the Court

cannot determine if these circumstances occurred before or after FCI Waseca increased COVID-

19 prevention measures and restrictions.

       Further, although Petitioners described individual instances of alleged non-compliance,

Petitioners do not refute that since April 2020, FCI Waseca staff members have been required to

wear facial coverings when social distancing is not possible. (Wieczorek Decl., [Docket No. 67],

at ¶ 42). Likewise, since April 2020, inmates have been required to wear facial coverings, and

they are subject to discipline if they fail to do so. (Id.) (“Inmates are required to wear facial

coverings anytime while away from their immediate bunk area.”). While inmates were initially

provided surgical masks, on April 15, 2020, inmates were provided with washable, reusable

cloth face coverings. (Id. at ¶ 40). Upon request, inmates are also provided a replacement mask at

any time. (Cummins Decl., [Docket No. 68], at ¶ 42). The record further reflects that the number

of cleaning supplies and the frequency of cleanings increased over the course of the COVID-19

pandemic, including the addition of “backpack sprayers for disinfecting larger surface areas”;

dedicated orderlies for disinfecting “high tough areas within the housing units”; and cleaning

supplies for non-orderlies to use in the communal housing units. (Id. at ¶¶ 36–42).




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       Moreover, many of Petitioners’ declarations acknowledge the increase in the amount of

PPE and cleaning supplies as FCI Waseca’s response to COVID-19 has evolved. For example,

Petitioner Brooks’ declaration provides that despite earlier shortcoming, the “BOP is providing

PPE”; FCI Waseca has “stations set outside of each unit for staff to use to change their PPE”;

and FCI Waseca switched to “stronger sanitizer for cleaning . . . .” (Brooks Decl., [Docket No.

24], at ¶¶ 41, 43). Likewise, while she observes that there are no hand sanitizer stations in her

unit which she can access while “locked in [her] range,” she acknowledges that there is an

accessible station when she is not “locked in [her] range,” and she further acknowledges that she

also has access to hand washing stations with antibacterial soap. (Id. at ¶ 44). Petitioner Brooks

simply believes the changes came too late and are “not good enough.” (Id. at ¶¶ 40–43).

       At its core, the present Petition takes issue with decisions Respondents made in

responding to the COVID-19 pandemic at FCI Waseca over time. In other words, Petitioners are

tantamount taking issue with the treatment decisions Respondents made in response to the

COVID-19 pandemic. Even assuming solely for the sake of argument that Petitioners’ proposed

response to the COVID-19 pandemic is arguably better than the response which has thus far

occurred at FCI Waseca, that does not rise to the level of a constitutional violation. Under

controlling Eighth Circuit precedent by which this Court is bound, a disagreement over the

proper medical treatment or response cannot support a claim for cruel and unusual punishment.

See, e.g., Popoalii v. Corr. Med. Servs., 512 F.3d 488, 499 (8th Cir. 2008). Even if assuming

solely for the sake of argument that Respondents’ conduct demonstrates gross negligence and

medical malpractice, under controlling Eighth Circuit precedent this still cannot support a claim

for cruel and unusual punishment. See, e.g., Drake v. Koss, 445 F.3d 1038, 1042 (8th Cir. 2006);




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Estate of Rosenberg v. Crandell, 56 F.3d 35, 37 (8th Cir. 1995); Popoalii v. Corr. Med. Servs.,

512 F.3d 488, 499 (8th Cir. 2008).

         Petitioners do not refute that Respondents have policies in place to combat the spread of

the COVID-19 pandemic inside FCI Waseca. Although Petitioners seem to be arguing that the

Eighth Amendment requires Respondents to maintain perfect compliance with those polices,

perfection is not constitutionally required. See, gen., Drake v. Koss, 445 F.3d 1038, 1042 (8th

Cir. 2006); Estate of Rosenberg v. Crandell, 56 F.3d 35, 37 (8th Cir. 1995); Popoalii v. Corr.

Med. Servs., 512 F.3d 488, 499 (8th Cir. 2008). Although there was a significant spread of the

COVID-19 infection at FCI Waseca, Petitioners do not refute that before and as of the time of

the January 6, 2021, Motions Hearing, there was only one FCI Waseca inmate with an active

case of COVID-19. The limitation of a highly infectious illness to a single active case in a prison

setting cannot in any reasonable way be viewed as a “deliberate indifference” to Petitioners’

serious medical need. 5

         On the record now before the Court, Petitioners have failed to demonstrate that

Respondents were deliberately indifferent to Petitioners’ serious medical need to such a level to

warrant finding a violation of Petitioners’ Eighth Amendment rights prohibiting cruel and

unusual punishment. 6


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  In making the current finding, the undersigned does not in any way seek to downplay the seriousness of the
COVID-19 pandemic; its effect on the nation’s prison population; nor the symptoms endured by the Petitioners who
have contracted COVID-19. The COVID-19 virus is indisputably harmful and dangerous. The present Report and
Recommendation should be viewed as only an analysis of the Petitioners’ legal claims in the framework of
controlling precedent by which this Court must abide.
6
  Petitioners Malcolm, William, Brooks, and Walker’s Rehabilitation Act claims each suffers a similar fate. To
establish a Rehabilitation Act claim, Petitioners Malcolm, William, Brooks, and Walker “must [each] demonstrate
that: (1) [she] is a qualified individual with a disability; (2) [she] was denied benefits of a program or activity of a
public entity which received federal funds[;] and (3) [she] was discriminated against based on [her] disability.”
Turner v. Mull, 784 F.3d 485, 494 (8th Cir. 2015) (quoting Gorman v. Bartch, 152 F.3d 907, 911 (8th Cir. 1998)).
Petitioners Malcolm, William, Brooks, and Walker must also each demonstrate that she requested the
accommodation which she alleges was denied to her. Lue v. Moore, 43 F.3d 1203, 1205 (8th Cir. 1994); Mack v.
Haarman & Reimer Corp., No. 5-96-cv-315 (RLE), 1998 WL 757967, at *15 (D. Minn. Mar. 26, 1998). Even
assuming solely for the sake of argument that Petitioners Malcolm, William, Brooks, and Walker each satisfy the

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V.       Petitioners’ Motion for Temporary Restraining Order. [Docket No. 6].

         Through their Motion for Temporary Restraining Order, [Docket No. 6], Petitioners seek

an Order of this Court “[g]ranting [their] petition for a writ of habeas corpus pending the full

adjudication of the case;” “[a]ppointing an independent monitor with medical expertise to ensure

compliance with the measures enumerated in the Petitioner’s [sic] Proposed Order”; “directing

Respondents to provide the monitor with unfettered access to medical units, confidential

communications with detained individuals in and out of quarantine, and surveillance video of

public areas of the facility”; and requiring Respondents to provide Petitioners’ counsel with

certain information regarding the proposed class and its proposed members. (Pets.’ Mot. [Docket

No. 6]). In general, Petitioners argue that they will suffer irreparable harm in the form of “serious

illness and death” in the absence of the requested injunctive order.

         When considering a motion for a temporary restraining order or preliminary injunction,

the Court considers four factors: (1) the probability that the moving party will succeed on the

merits; (2) the threat of irreparable harm to the moving party; (3) the balance of harms as

between the parties; and (4) the public interest. S.J.W. ex rel Wilson v. Lee’s Summit R7 Sch.

first two prongs, each Petitioner has failed to demonstrate that she was denied a requested accommodation or that
she was discriminated against based on her disability. First, Petitioners Malcolm, William, Brooks, and Walker fail
to even allege that they requested any accommodation from Respondents. (See, Pet. [Docket No. 1]). This is fatal to
each of their Rehabilitation Act claims. Moreover, each Petitioner fails to demonstrate that she was discriminated
against based on her disability. Instead, each Petitioner alleges that she was subject to some circumstance to which
all other inmates were also subject due to COVID-19 prevention measures or that she more negatively affected than
other inmates by the perceived lackluster COVID-19 response at FCI Waseca. For example, in an attempt to
demonstrate being denied participation in prison services based on her disability, Petitioner Malcolm points to her
declaration where she provides that she did not have access to phones or computers. (See, Pets.’ Mem., [Docket No.
29], at 36) (citing Malcolm Decl., [Docket No. 15], at ¶ 9). However, Petitioner Malcolm specifically attests that it
was the entirety of her living unit, including her and twenty other inmates, who “did not have access to phones or the
computers[.]” (Malcolm Dec., [Docket No. 15], at ¶ 9). There is no allegation that these twenty other inmates were
disabled as defined by the Rehabilitation Act. Thus, Petitioner Malcolm was not denied any service based on her
disability; rather, she was denied the same services as were the other twenty non-disabled inmates. Petitioner
Malcolm makes similar allegations regarding the circumstances when she returned from the hospital to FCI Waseca;
however, she does not allege that any non-disabled inmate received differing treatment. (See, Id. at ¶ 15–21). The
same is true for Petitioner Williams’ assertion that there was no access to the phone in the Special Housing Unit
where she was housed with other non-disabled inmates, as well as, Petitioner Walker’s assertion that she, along with
other newly arriving non-disabled inmates, was placed in the Special Housing Unit upon her arrival at FCI Waseca
with all inmates in the Special Housing Unit having limited access to phones.

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Dist., 696 F.3d 771, 776 (8th Cir. 2012) (citing Dataphase Systems, Inc. v. C L Systems, Inc.,

640 F.2d 109, 113 (8th Cir. 1981)); see, Tom T., Inc. v. City of Eveleth, No. 3-cv-1197

(MJD/RLE), 2003 WL 1610779, at *3 (D. Minn. Mar. 11, 2003); Watts v. Fed. Home Loan

Mortgage Corp., No. 12-cv-692 (SRN/JSM), 2012 WL 1901304, at *3 n.3 (D. Minn. May 25

2012) (“Courts in the Eighth Circuit apply the same standards to a request for a preliminary

injunction and temporary restraining order.”) (citing S.B. McLaughlin & Co. v. Tudor Oaks

Condo. Project, 877 F.2d 707, 708 (8th Cir. 1989); Jackson v. Nat’l Football League, 802 F.

Supp. 266, 229 (D. Minn. 1992)); Callerons v. FSI Int’l, Inc., No. 12-cv-2120, 2012 WL

4097832, at *2 (D. Minn. Sept. 18, 2012) (explaining that these factors apply to both preliminary

injunctions and temporary restraining orders). “At base, the question is whether the balance of

equities so favors the movant that justice requires the court to intervene to preserve the status quo

until the merits are determined.” Dataphase, 640 F.2d at 113.

       Injunctive relief is extraordinary relief, and the burden of establishing the propriety of an

injunction is on the movant. Watkins, Inc. v. Lewis, 346 F.3d 841, 844 (8th Cir. 2003);

Roudachevski v. All-American Care Centers, Inc., 648 F.3d 701, 705 (8th Cir. 2011). A

temporary restraining order or preliminary injunction cannot issue if the movant fails to

demonstrate a likelihood of success on the merits. See, Beeks v. CitiMortgage, Inc., No. 14-cv-

4603 (MJD/HB), 2014 WL 5704205, at *5 (D. Minn. Nov. 5, 2014); Wickner v. Larson, No. 9-

cv-940 (DWF/JJK), 2010 WL 98940, at *3 (D. Minn. Jan. 11, 2010); Mid-Am. Real Estate Co.

v. Iowa Realty Co., 406 F.3d 969, 972 (8th Cir. 2005).

       On the first factor of whether or not to issue a temporary restraining order, i.e.,

probability of success on the merits, the Court in Dataphase, “rejected the notion that the party

seeking relief must show ‘a greater than fifty percent likelihood that [she] will prevail on the



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merits,’ holding instead that ‘where the balance of other factors tips decidedly toward [movant] a

preliminary injunction may issue if movant has raised questions so serious and difficult as to call

for more deliberate investigation.” Planned Parenthood Minn. N.D., S.D. v. Rounds, 530 F.3d

724, 731 (8th Cir. 2008) (citing Dataphase, 640 F.2d at 113). Thus, the Eighth Circuit has

instructed District Courts considering this factor to query whether the moving party has a “fair

chance of prevailing.” Id. at 732.

       In the present case, Petitioners have failed to demonstrate that they have a “fair chance of

prevailing” on their asserted claims before this Court. For the reasons discussed above, the Court

has already concluded that the District of Minnesota lacks the requisite subject matter

jurisdiction to adjudicate Petitioners’ clarified requests for release as relief pursuant to their

habeas claims. The Court will not repeat that analysis here. It is sufficient to state that the

undersigned’s recommendation that Petitioners’ present Habeas Corpus Petition be denied based

on a lack of subject matter jurisdiction is sufficient to demonstrate that Petitioners have failed to

demonstrate that they have a fair chance of prevailing on any of their claims.

       Therefore, the undersigned recommends that Petitioners’ Motion for Temporary

Restraining Order, [Docket No. 6], be DENIED.




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VI.    Conclusion

       Therefore, based on the foregoing, and all the files, records, and proceedings herein, IT

IS HEREBY RECOMMENDED THAT:

       1. The Petition for Writ of Habeas Corpus, [Docket No. 1], be DENIED; and

       2. Petitioners’ Motion for Temporary Restraining Order, [Docket No. 6], be DENIED.




Dated: January 15, 2021                                    s/Leo I. Brisbois
                                                           Hon. Leo I. Brisbois
                                                           United States Magistrate Judge




                                         NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the District
Court and is therefore not appealable directly to the Eighth Circuit Court of Appeals.

Under Local Rule 72.2(b)(1), “A party may file and serve specific written objections to a
magistrate judge’s proposed findings and recommendation within 14 days after being served
with a copy of the recommended disposition[.]” A party may respond to those objections within
14 days after being served a copy of the objections. LR 72.2(b)(2). All objections and responses
must comply with the word or line limits set forth in LR 72.2(c).

Under Advisement Date: This Report and Recommendation will be considered under
advisement 14 days from the date of its filing. If timely objections are filed, this Report and
Recommendation will be considered under advisement from the earlier of: (1) 14 days after the
objections are filed; or (2) from the date a timely response is filed.




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